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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF HAWAI`I
 ___________________________________
 UNITED STATES OF AMERICA,           )
                                     )
                Plaintiff,           )
                                     )
      v.                             ) Civ. No. 12-00319 ACK-KSC
                                     )
 RONALD B. STATON, BRENDA L. STATON,)
 NAVY FEDERAL CREDIT UNION,          )
 CAPSTEAD MORTGAGE CORPORATION,      )
 and STATE OF HAWAI`I,               )
                                     )
                Defendants.          )
 ___________________________________)

                                    ORDER

             For the reasons set forth below, the Court (1)

 determines the amount of principal, interest and penalties on

 Defendant Ronald B. Staton’s tax liabilities owed to Plaintiff

 United States; (2) determines the amount of principal, interest

 and costs owing to the Lender Defendants under the Statons’

 mortgage; (3) approves the Commissioner’s Request for additional

 commissioner fees and costs, as modified herein; (4) determines

 the amount of proceeds from the sale of the subject property to

 which each party is entitled; and (5) orders disbursement of the

 remaining sales proceeds.

                                 BACKGROUND

             For purposes of this Order, the Court will not recount

 this case’s lengthy procedural history beginning in 2012.            The




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 Court only discusses those facts of specific relevance to the

 issues that this Order addresses.

             On April 10, 2018, the Court filed an Order Confirming

 Sale, Approving Commissioner’s Report, and Determining Priority

 of Future Disbursements (the “April Order”).         ECF No. 330.     In

 the April Order, the Court (1) confirmed the sale of the subject

 property; (2) approved the Commissioner’s Report requesting

 commissioner fees and costs related to the sale of the subject

 property; and (3) approved the proposed order of priority for

 future disbursements.       April Order at 1.    As to the distribution

 of sales proceeds, the Court reserved consideration of that

 issue pending a final determination of: (1) the reasonable

 amount of attorneys’ fees and costs to which Defendants Navy

 Federal Credit Union and Capstead Mortgage Corporation (the

 “Lender Defendants”) are entitled; and (2) the amount of

 interest and penalties to which Plaintiff United States is

 entitled.    Id. at 1-2.     The Court stated that it would rule on

 the ultimate amount of sales proceeds to be distributed to each

 party and order distribution of the proceeds following a

 separate hearing.     Id.

             On September 27, 2018, the Magistrate Judge filed its

 Findings and Recommendation (the “F&R”) regarding the amount of

 attorneys’ fees and costs to which the Lender Defendants are

 entitled.    ECF No. 400.     The Magistrate Judge found that the


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 Lender Defendants were entitled to total award of $62,063.00

 consisting of (1) $35,000.00 in attorneys’ fees and costs as

 agreed to by Plaintiff United States and the Lender Defendants

 in a Stipulation dated February 24, 2015; and (2) $27,063.00 in

 attorneys’ fees incurred in related bankruptcy proceedings.            F&R

 at 12.   The Magistrate Judge denied the Lender Defendants’

 request for costs incurred in the bankruptcy proceedings because

 the Lender Defendants did not adequately substantiate the costs

 that they incurred.     Id. at 13.    This Court reviewed the hours

 billed and rates charged and found that the attorneys’ fees and

 costs the Magistrate Judge recommended were reasonable; on

 October 18, 2018, this Court filed an Order Adopting the

 Magistrate Judge’s Findings and Recommendation.          ECF No. 404.

             On May 16, 2018, Plaintiff United States filed a

 Memorandum correcting and clarifying the amount of interest and

 penalties that it seeks to recover in this matter.          ECF No. 369.

 On the same day, the Lender Defendants filed a Statement of No

 Position with respect to Plaintiff United States’s Memorandum.

 ECF No. 373.

             In its April Order, the Court approved the

 Commissioner’s Report of Sale dated February 14, 2018, ECF No.

 270, in which the Commissioner requested a total of $39,048.15

 consisting of:     (1) $30,065.00 in commissioner fees for past

 services; (2) $2,000.00 in commissioner fees for anticipated


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 future services; (3) a $1,416.67 General Excise Tax; and (4) a

 $5,566.48 reimbursement for costs associated with publicizing

 the foreclosure sale.      April Order at 22.     On May 11, 2018, the

 Commissioner received a check for $39,048.15 in satisfaction of

 his Court-approved Report.      ECF No. 395-1.

             On June 27, 2018, the Commissioner filed a Declaration

 requesting additional commissioner fees and costs relating to

 his efforts to remove Defendants Ronald B. Staton and Brenda L.

 Staton (the “Statons”) and their personal property from the

 subject property post-closing.       ECF No. 395.    In his

 Declaration, the Commissioner requested a total of $18,658.36

 consisting of:     (1) $14,207.50 in additional commissioner fees

 for past services; (2) $2,000.00 in additional commissioner fees

 for anticipated future services; (3) a $669.46 General Excise

 Tax; and (4) a $1,781.40 reimbursement for costs associated with

 the eviction. Decl. ¶ 20.      On June 28, 2018, Plaintiff United

 States filed a Statement of No Opposition to the Commissioner’s

 Request.    ECF No. 396.

             On October 18, 2018, this Court entered a Minute

 Order, ECF No. 405, that:      (1) directed the Lender Defendants to

 file any objections to the Commissioner’s Declaration by Monday,

 October 29, 2018; and (2) directed the Statons to file any

 objections to Plaintiff United States’s Memorandum and the

 Commissioner’s Declaration by the same deadline.          On October 19,


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 2018, the Lender Defendants filed a Statement of No Position

 regarding the Commissioner’s Declaration.         ECF No. 406.       On

 October 29, the Statons filed a request, ECF No. 408, asking for

 additional time to object to Plaintiff United States’s

 Memorandum and the Commissioner’s Declaration.          On October 30,

 2018, the Court granted the Statons an extension until November

 5, 2018.    ECF No. 407.    On November 5, 2018, the Statons filed a

 Response (the “Response”) that raises objections to both

 Plaintiff United States’s Memorandum and the Commissioner’s

 Declaration.    ECF No. 409.

             In this Order, the Court addresses each of the

 following issues in turn:      (1) the amount of principal, interest

 and penalties to which Plaintiff United States is entitled; (2)

 the amount of principal, interest and costs owing to the Lender

 Defendants under the Statons’ mortgage; (3) the amount of

 additional commissioner fees and costs to which the Commissioner

 is entitled; and (4) the amount of proceeds from the sale of the

 subject property to which each party is entitled.          Finally, the

 Court addresses disbursement of the proceeds of the sale in

 accordance with the order of priority set forth in its April

 Order.   The Court, in the exercise of its discretion pursuant to

 Local Rule 7.2(d), finds that these matters are appropriate for

 disposition without a hearing.




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                                 DISCUSSION

 I.    Amount of Principal, Interest and Penalties to which
       Plaintiff United States Is Entitled

             On February 15, 2018, Plaintiff United States filed a

 Notice (the “Notice”), ECF No. 271, providing that the aggregate

 balance of Mr. Staton’s tax liabilities for the years 2001

 through 2007, as of March 30, 2018, was $412,166.31.          Notice at

 2.   In its April Order, the Court approved Mr. Staton’s tax

 liabilities owed to Plaintiff United States in the amount of

 $355,526.74. 1    April Order at 26.     Given the discrepancy between

 the amount set forth in Plaintiff United States’s Notice and the

 amount approved in the Court’s April Order, the Court directed

 Plaintiff United States to file a Memorandum clarifying the

 amount of penalties and interest it is seeking to recover from

 Mr. Staton.      Id.   Plaintiff United States filed its Memorandum

 on May 16, 2018.




 1 This amount was determined pursuant to two stipulations filed
 by Plaintiff United States and Mr. Staton. Pursuant to the
 first stipulation, filed on September 30, 2014, the Court
 entered judgment against Mr. Staton with respect to tax years
 2001, 2002, 2003, and 2005 in the amount of $273,715.67, plus
 interest accruing after July 1, 2014 and less any payments made
 or credits applied after that date. ECF No. 104 at 2. Pursuant
 to the second stipulation, filed on November 25, 2014, the Court
 entered judgment against Mr. Staton with respect to tax years
 2004, 2006, and 2007 in the amount of $81,811.07, plus interest
 accruing after October 31, 2014 and less any payments made or
 credits applied after that date. ECF No. 108 at 2.



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             Plaintiff United States explains that after the Court

 filed its April Order, the Internal Revenue Service (the “IRS”)

 determined that it made a calculation error when it added

 failure to pay penalties for the 2001, 2002, and 2003 Tax Years

 in the total amount of $8,523.00.        United States’s Memorandum at

 4.   Because the IRS added the penalties in error, Plaintiff

 United States corrected the aggregate amount owed as of March

 30, 2018, which it states is $403,643.31.         Id.

             Plaintiff United States explains that the discrepancy

 between the Court’s judgment of $355,526.74 and the requested

 amount of $403,643.31 is due to (1) two payments made by Mr.

 Staton in the amounts of $992.00 and $186.00 for the 2001 Tax

 Year; (2) a collection fee of $128.00 for the 2001 Tax Year; and

 (3) interest in the total amount of $49,166.57 for the 2001-2007

 Tax Years as of March 30, 2018.       Id. at 6-11.

             The Statons argue that “the United States has

 wrongfully added extra penalties and interest” to the tax

 judgments.    Response at 3.    With respect to the “extra

 penalties,” the Court finds that this argument is without merit.

 As discussed, Plaintiff United States eliminated failure to pay

 penalties totaling $8,523.00 which the IRS had erroneously added

 to Mr. Staton’s tax liabilities when Plaintiff United States

 filed its Notice.     United States’s Memorandum at 4.




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             The Statons also argue that Plaintiff United States

 inappropriately added interest to the tax judgment based upon

 the stipulations approved by this Court.         Response at 3.      The

 Court rejects this argument given that the stipulation and

 judgment for the 2001, 2002, 2003, and 2005 Tax Years expressly

 provides for “interest accruing after July 1, 2014 pursuant to

 26 U.S.C. § 6621.”     ECF No. 104 ¶ 1.     Similarly, the stipulation

 and judgment for the 2004, 2006, and 2007 Tax Years expressly

 provides for “interest accruing after October 31, 2014 pursuant

 to 26 U.S.C. § 6621.”      ECF No. 108 ¶ 1.    As Plaintiff United

 States explains in detail throughout its Memorandum, interest

 has been added to the tax judgments through March 30, 2018 in

 precise accordance with these provisions.         United States’s

 Memorandum at 6-11.

             The interest owing on Mr. Staton’s tax liabilities did

 not stop accruing on March 30, 2018.        Accordingly, on December

 6, 2018, the Court entered a Minute Order directing Plaintiff

 United States to file a Notice setting forth the amount of

 interest owing on Mr. Staton’s tax liabilities from March 30,

 2018 to December 20, 2018.      ECF No. 411.     On December 13, 2018,

 Plaintiff United States filed a Notice indicating that the

 amount of interest owing for that 265-day period is $14,981.47.

 ECF No. 412.    The Court has reviewed the Notice and the




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 calculations therein, and finds that the amount of interest

 requested for this period is appropriate.

             For the foregoing reasons, the Court finds that the

 Statons’ objections to Plaintiff United States’s Memorandum are

 without merit.     The Court has reviewed Plaintiff United States’s

 Memorandum and the calculations set forth therein, as well as

 the Notice providing the amount of interest owing from March 30,

 2018 to December 20, 2018, and finds that Plaintiff United

 States’s request for interest in the total amount of $64,148.04,

 as of December 20, 2018, is appropriate.         The Court also finds

 that the collection fee of $128.00 assessed for Mr. Staton’s

 2001 Tax Year is appropriate.       Accordingly, the Court approves

 Mr. Staton’s aggregate tax liability to Plaintiff United States,

 as of December 20, 2018, in the amount of $418,624.78.

 II.   Amount of Principal, Interest and Costs Owing to the Lender
       Defendants under the Statons’ Mortgage

             The Lender Defendants initially requested $289,949.89

 in principal and $4,357.59 in interest, as of March 1, 2018.

 ECF No. 282.    In preparing this Order, the Court noted several

 mathematical errors in the Lender Defendants’ submissions, which

 the Court described in a Minute Order dated December 5, 2018.

 ECF No. 410.    In that Minute Order, the Court directed the

 Lender Defendants to file a Notice indicating the total amount

 owing under the loan as of December 20, 2018, including the



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  amount of principal due as of that date as well as the amount of

  interest.   The Court also directed the Lender Defendants to

  include the total amount owing under the loan as of March 1,

  2018, including the amount of principal due as of that date as

  well as the amount of interest.       The Lender Defendants’ filed

  their Notice on December 13, 2018.       ECF No. 413.

              The Lender Defendants’ Notice states that they were

  owed $289,575.64 in principal and $4,973.84 in interest as of

  March 1, 2018.    The Notice also stated that as of December 20,

  2018, the Lender Defendants are owed $289,197.10 in principal

  and $17,546.57.    The Lender Defendants also request a recording

  fee in the amount of $25.00.      Accordingly, the Lender Defendants

  request a total amount owing under the Statons’ mortgage of

  $306,768.67.    The Court has reviewed the figures and

  calculations provided by the Lender Defendants, and finds that

  the amount requested is appropriate.

              As of the date of this Order, December 20, 2018, the

  Court finds that the total amount owing under the Statons’

  mortgage to which the Lender Defendants are entitled is

  $306,768.67.    This amount consists of $289,197.10 in principal;

  $17,546.57 in interest; and a $25.00 recording fee.          Together

  with the approved attorneys’ fees and costs in the amount of

  $62,063.00, the Court approves a total amount of $368,831.67 for

  the Lender Defendants.


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  III. Additional Commissioner Fees and Costs to Which the
       Commissioner Is Entitled

             The Commissioner has requested additional commissioner

  fees and costs in the amount of (1) $14,207.50 in commissioner

  fees for additional past services; (2) $2,000.00 in commissioner

  fees for additional anticipated future services; (3) a $669.46

  General Excise Tax; and (4) a $1,781.40 reimbursement for costs

  associated with the eviction.      Commissioner’s Decl. ¶ 20.        The

  Commissioner’s request for additional commissioner fees and

  costs is based primarily upon the difficulties and challenges

  that were faced in removing the Statons and their personal

  belongings from the property.

             However, the Court notes that the request for

  $14,207.50 in additional commissioner fees for past services

  does not account for the $2,000.00 in additional anticipated

  commissioner fees that the Court approved in its April Order and

  that were paid to the Commissioner on May 11, 2018.          Therefore,

  the Court finds it appropriate to reduce the Commissioner’s

  request by $2,000.00 and approve additional commissioner fees

  for past services in the amount of $12,207.50.

             The Court also declines to approve the Commissioner’s

  request for $2,000.00 in additional anticipated commissioner

  fees for future service.      Decl. ¶ 20.    The Commissioner argues

  that this request is reasonable because one of the many appeals



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  the Statons have filed in this case concerns the Commissioner’s

  conduct during the course of the sale of the subject property,

  removal of the Statons’ belongings, and eviction of the Statons.

  Id. ¶ 22.    The Court declines to approve the Commissioner’s

  request at this time.     If the Commissioner does incur additional

  expenses, then he should at that time file a motion and

  affidavit before the Ninth Circuit in conjunction with any

  appeals in which he has incurred attorneys’ fees and costs.

              In their Response, the Statons object to the

  Commissioner’s request on several grounds which the Court now

  addresses.

              First, the Statons argue that no additional funds

  should be distributed to the Commissioner because the Order

  denying the Statons’ “Emergency Motion for Injunction,” ECF No.

  375, is currently on appeal.      Response at 2.     The Statons filed

  their “Emergency Motion for Injunction” in an attempt to halt

  the eviction from taking place.       This Court denied the Statons’

  Motion and the eviction took place on May 15, 2018.          Despite the

  Statons’ appeal, the Court sees no reason why the Commissioner

  should be denied the commissioner fees and costs he incurred in

  the process of carrying out the court-ordered eviction and the

  Statons have cited no authority in support of their argument.

              The Statons next argue that the Commissioner’s request

  for additional commissioner fees and costs is “exorbitant” for


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  work “done in 10 hours use [sic] or less (May 11, 2018 and May

  16, 2018).”    Response at 2.    The Statons’ argument is misguided

  because the Commissioner’s fee request includes work performed

  over the course of several months—from February 14, 2018, the

  date that the Commissioner submitted his initial commissioner

  fee request, until June 19, 2018, the date that the Commissioner

  submitted his Declaration requesting additional commissioner

  fees and costs.    See ECF No. 395-12.

              The Statons also argue that the Commissioner has not

  provided adequate documentation supporting his request for

  reimbursement of costs associated with the eviction.          Response

  at 2.   In fact, the Commissioner has provided documentation

  supporting his reimbursement request in the form of invoices

  from the moving and junk removal firms and receipts from the

  storage company that the Commissioner engaged to assist with the

  eviction.    See ECF Nos. 395-9, 395-10, and 395-11.

              Finally, the Statons contend that they were

  cooperative throughout the eviction process, and that it was the

  Commissioner’s lack of cooperation which caused him to incur

  additional commissioner fees and costs.        Response at 2-3.      The

  Court finds this argument unpersuasive upon review of the

  Exhibits that the Commissioner attached to his Declaration

  consisting of email correspondence between the Commissioner and

  the Statons, which indicate that the Statons were not


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  particularly cooperative during the day of and the days

  preceding the eviction.     See ECF Nos.     395-2, 395-5, and 395-6.

             In light of the challenges and lack of cooperation

  that the Commissioner faced in carrying out his duties, the

  Court finds that the Commissioner’s request for additional

  commissioner fees and costs, as modified herein, is reasonable.

  The Court has reviewed the hours billed and the rates charged by

  the Commissioner for his services and the services of his

  colleagues, and finds that the hours and rates are reasonable.

  The Court approves a total amount of $14,658.36 consisting of:

  (1) $12,207.50 in additional commissioner fees for past

  services; (2) a $669.46 General Excise Tax; 2 and (3) a $1,781.40

  reimbursement for costs associated with the eviction.




  2 The Court finds that the Commissioner’s request for a $669.46
  General Excise Tax is appropriate. The request is appropriate
  because in its April Order, the Court approved the
  Commissioner’s fee request for past services in the amount of
  $30,065.00 and anticipated future services in the amount of
  $2,000.00, plus a $1,416.67 General Excise Tax; however, that
  General Excise Tax only covered the tax on the $30,065.00
  commissioner fee for past services. In this Order, the Court
  approves a total of $12,207.50 in additional commissioner fees
  for past services, plus a $669.46 General Excise Tax. This
  $669.46 General Excise Tax covers both the $12,207.50 that the
  Court approves in this Order, plus the $2,000.00 in commissioner
  fees for anticipated future services which the Commissioner
  requested in his initial Report, and the Court approved in its
  April Order, but which the initial General Excise Tax did not
  cover.



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  IV.   Determination of the Amount of Sale Proceeds to Which Each
        Party Is Entitled

              In its April Order, the Court confirmed the sale of

  the subject property for a price of $1,135,000.00.          April Order

  at 23.     At the escrow closing, the Commissioner received a check

  in the amount of $39,048.15 in satisfaction of his initial

  request for commissioner fees and costs, leaving $1,095,951.85

  in remaining proceeds.     ECF No. 395-1.     Various utility payments

  and credits, as well as a county tax credit, were also applied

  at that time resulting in $1,096,108.23 in proceeds. 3         Id.   As of

  December 20, 2018, a total of $1,107,551.72 (consisting of

  $1,096,108.23 in principal and $11,443.49 in interest, and

  certain expenses and credits) remains in the registry of the

  Court.   Pursuant to its April Order setting forth the order of

  priority for all future disbursements, this Court approves the

  amount of sales proceeds to which each party is entitled as

  follows:

              1.    To Commissioner Lyle S. Hosoda     for the additional
                    commissioner fees and costs he     has incurred since
                    the Court approved his initial     request for
                    commissioner fees and costs, a     total amount of
                    $14,658.36;


  3 These payments and credits consist of: (1) a total payment of
  $541.38 for water and sewage services (consisting of two
  payments of $134.16; one payment of $268.32; and one payment of
  $4.74); (2) a credit of $111.80 for water and sewer services;
  and (3) a credit of $585.96 for county taxes. See ECF No. 395-
  1.



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             2.    To the Lender Defendants Navy Federal Credit
                   Union and Capstead Mortgage for the principal,
                   interest and recording fee to which they are
                   entitled in the amount of $306,768.67 (consisting
                   of $289,197.10 in principal, $17,546.57 in
                   interest, and a $25.00 recording fee), plus
                   attorneys’ fees and costs in the amount of
                   $62,063.00, for a total amount of $368,831.67;

             The amount of sales proceeds remaining after payment

  to the Commissioner and the Lender Defendants is $724,061.69.

  That amount is to be distributed as follows:

             3.    To Defendant Brenda L. Staton, fifty (50) percent
                   of the remaining proceeds for a total amount of
                   $362,030.85; and

             4.    To Plaintiff United States, fifty (50) percent of
                   the remaining proceeds for a total amount of
                   $362,030.84.

  V.   Deficiency Judgment

             In its April Order, the Court also reserved

  jurisdiction in order to address the possible entry of a

  deficiency judgment in favor of Plaintiff United States.

  Plaintiff United States requested a deficiency judgment should

  the sales proceeds fail to satisfy Mr. Staton’s federal tax

  liabilities.    ECF No. 272-1 at 6.

             Mr. Staton’s federal tax liabilities are $418,624.78

  as of December 20, 2018, and Plaintiff United States received

  $362,030.84 in proceeds from the foreclosure sale.          Accordingly,

  the Court finds that a deficiency exists in the amount of

  $56,593.94.



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                                   CONCLUSION

              For the foregoing reasons the Court directs the Clerk

  of Court to disburse the remaining proceeds of the sale to each

  of the parties in accordance with the amounts approved above.

              Pursuant to Rule 54 of the Federal Rules of Civil

  Procedure, the Clerk of Court is further directed to enter

  judgment in accordance with this order, including a deficiency

  judgment against Mr. Staton in the amount of $56,593.94.




        IT IS SO ORDERED.

        DATED: Honolulu, Hawai`i, December 20, 2018




                              ________________________________
                              Alan C. Kay
                              Sr. United States District Judge




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